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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                 *
 DONALD J. TRUMP,                                *
                                                 *
                Defendant.                       *
                                                 *

                     GOVERNMENT’S OPPOSITION TO
         DEFENDANT’S MOTION FOR PRE-TRIAL RULE 17(c) SUBPOENAS

       The defendant asks for the Court’s permission to make vague early-return document

demands of four non-party Legislative Branch entities and three non-party Executive Branch

entities, all in search of information regarding purportedly “missing” records from the House

Select Committee to Investigate the January 6th Attack on the United States Capitol (“Select

Committee”). See ECF No. 99. The defendant’s motion is wholly unnecessary: the Government

already provided the defendant in discovery the Select Committee records that he identifies with

any specificity. In any event, the defendant’s proposed fishing expedition in search of other

purportedly “missing” congressional records fails to satisfy the requirement that Rule 17(c)

subpoenas be for relevant, admissible, and specific information. See United States v. Nixon, 418

U.S. 683, 698-700 (1974). The defendant’s motion should be denied.

I.     Background

       On October 11, 2023, the defendant filed the instant motion, seeking permission to serve

seven Rule 17(c) subpoenas, each calling for the production of six categories of documents

(collectively, “Requested Records”). ECF No. 99 at 5; ECF No. 99-5 at 7. The defendant’s

principal expansive and ill-defined request is for what he claims are “missing” materials from the

Select Committee’s investigation, focused on certain materials referenced in letters from the Select
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Committee Chairman to the White House Counsel’s Office and the Department of Homeland

Security. ECF No. 99 at 4-5. Although the defendant’s motion and proposed subpoenas suggest

this material could be voluminous—including “the video recordings or other transcriptions of

witness interviews, intelligence and other law enforcement information available to the Secret

Service, records identifying witnesses, and other information the Select Committee deemed private

or operational details pursuant to agreements with the White House and Department of Homeland

Security,” ECF No. 99-5 at 5—a review of the underlying correspondence that the defendant cites

reveals that the actual records provided to the White House and Secret Service are a small number

of transcripts of Select Committee interviews conducted subject to confidentiality agreements. 1

The remaining topics in the defendant’s subpoenas relate to records and communications

concerning “the loss or destruction” of any “missing” Select Committee materials. ECF No. 99 at

5. In a footnote, the defendant admits that he “has not reviewed [discovery] in its entirety” but

nonetheless claims “a good faith belief” that the discovery does “not include the Requested

Records.” ECF No. 99 at 4 n.4.

       As the Government has set forth in Court, in pleadings, and in its discovery letters to the

defendant, during the course of its investigation, the Government obtained and produced records



       1
          See ECF No. 99-3 at 1 (Letter from Rep. Bennie G. Thompson, Select Committee
Chairman, to Richard A. Sauber, Special Counsel to the President (December 30, 2022) (stating
that the material being returned to the White House for archiving consisted of “Committee
interview transcripts”)); ECF No. 99-4 at 3 (Letter from Rep. Bennie G. Thompson, Select
Committee Chairman, to Jonathan Meyer, General Counsel, DHS (Dec. 30, 2022) (stating that
material being returned to DHS for archiving consisted of transcripts)).
        Although the defendant seeks “video recordings” of witness interviews in addition to
transcripts, in correspondence that the defendant attached to his motion, the Select Committee
explained that it had “determined that the written transcripts provided by nonpartisan, professional
official reporters, which the witnesses and Select Committee staff had the opportunity to review
for errata, were the official, permanent records of transcribed interviews and depositions.” ECF
No. 99-2 at 1 n.1.


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from the Select Committee’s investigation and from the Secret Service. As early as the August

11, 2023, hearing on the protective order motion, the Government advised the Court and the

defendant that it obtained “non-public” items from the Select Committee, including “transcripts of

witness interviews.” ECF No. 29 at 45. The Government also described “a large volume of

material obtained from the Secret Service.” Id. That same day, the Government made its first

production of unclassified discovery, which included the sensitive, non-public transcripts that the

defendant now claims are “missing.” In the cover letter accompanying that production, the

Government informed the defendant that the production included materials from the Select

Committee, “including, inter alia, … transcripts of interviews and depositions and accompanying

exhibits provided by the House Select Committee” and that “[t]his production also includes

transcripts of testimony provided by the House Select Committee and related exhibits that the

Government obtained from the United States Secret Service and the White House.” A detailed

Source Log appended to the cover letter identified each of the witnesses for whom transcripts had

been produced, sorted in alphabetical order by last name, along with the Bates range identifying

the location of each witness’s transcript in the production.

       Prior to filing the present motion, the defendant did not seek additional information or

clarification regarding the Government’s production of these materials, nor did he ask whether the

production included the sensitive, non-public Select Committee interview transcripts that he now

seeks—which it did. Had he done so, the Government would have directed him to the relevant

discovery productions that obviate the need for his proposed subpoenas.

II.    Applicable Law

       Rule 17(c) is “not intended to provide a means of discovery for criminal cases.” United

States v. Nixon, 418 U.S. 683, 698 (1974) (citing Bowman Dairy Co. v. United States, 341 U.S.




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214 (1951)). The party seeking a Rule 17(c) subpoena “must clear three hurdles: (1) relevancy;

(2) admissibility; [and] (3) specificity.” Id. at 700. Even if the party seeking the subpoena meets

these “exacting standards,” United States v. Fitzsimons, 342 F.R.D. 18, 20 (D.D.C. 2022) (quoting

Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367 (2004)), the Court should not grant the motion if

the materials are “otherwise procurable reasonably in advance of trial by exercise of due

diligence.” Nixon, 418 U.S. at 699. And the Court should determine that the application for a

Rule 17(c) subpoena “is made in good faith and is not intended as a general ‘fishing expedition.’”

Nixon, 418 U.S. at 699-700. See United States v. Libby, 432 F. Supp. 2d 26, 31-32 (D.D.C. 2006)

(“‘[I]f the moving party cannot reasonably specify the information contained or believed to be

contained in the documents sought but merely hopes that something useful will turn up, this is a

sure sign that the subpoena is being misused.’”) (quoting United States v. Noriega, 764 F. Supp.

1480, 1493 (S.D. Fla. 1991)); United States v. Binh Tang Vo, 78 F. Supp. 3d 171, 180 (D.D.C.

2015) (“In essence, ‘the test … is whether the subpoena constitutes a good faith effort to obtain

evidence rather than a general ‘fishing expedition’ that attempts to use the rule as a discovery

device.’” (quoting United States v. Cuthbertson, 630 F.2d 139, 144 (3d Cir. 1980)) 2; United States

v. Rand, 835 F.3d 451, 463 (4th Cir. 2016) (“The right to defend oneself does not extend to using

the power of the Court to compel third parties to provide information that may not even be




       2
        The defendant’s motion does not cite a single post-Nixon case from this District or Circuit
dealing with Rule 17(c) subpoenas. Instead, he relies heavily on United States v. Tucker, 249
F.R.D. 58 (S.D.N.Y. 2008), in which a district court appears to have expansively conceived of
Nixon. The Court should and must instead apply settled law. See United States v. Cole, 2021 WL
912425, at *3 (S.D.N.Y. Mar. 10, 2021) (“the Second Circuit and district courts in [that] Circuit
have almost unanimously applied the Nixon standard to Rule 17(c) subpoenas requested by a
defendant, including to subpoenas served on third parties.” (internal citation omitted)).


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admissible at trial or at a hearing or that is merely ‘investigatory.’”) (quoting United States v. Al-

Amin, 2013 WL 3865079, at *7 n.3 (E.D. Tenn. July 25, 2013)). 3

III.   Argument

       As an initial matter, the defendant already has the purportedly “missing” material discussed

in the letters to the White House and Department of Homeland Security that he cites: sensitive,

non-public Select Committee interview transcripts. To the extent that his request reaches beyond

these specific records that he already has been provided, the defendant’s motion should be denied

because he fails to meet Nixon’s “exacting standards”—hurdles put in place to prevent precisely

the kind of aimless fishing expedition the defendant wants to embark upon here. He fails to

establish that any of the Requested Records seek relevant or admissible information, or that his

requests are sufficiently specific. See, e.g., Nixon, 418 U.S. at 700.

       A.       The Defendant Already Has Any Arguably Relevant Material He Seeks.

       Although it is difficult to glean from the defendant’s motion and the expansive definition

of “Select Committee Missing Materials” in his subpoenas, the materials the defendant argues he



       3
          The defendant spends a substantial portion of his legal analysis discussing the
ramifications of “lost” evidence or “the government’s failure to preserve” evidence. ECF No. 99
at 7-8. Yet none of the cases the defendant cites in this portion of his brief even mention Rule
17(c), and in any event there can be no recourse against the Government when dealing with records
of non-parties not in the possession of the prosecution team. See United States v. Bannon, 21-cr-
670, ECF No. 147 at 5 (D.D.C. Sept. 2, 2022) (stating that “the government is not responsible for
turning over records not in its possession” and finding that Select Committee materials were not
in the Government’s possession). Even the defendant’s cases recognize this basic principle. See
ECF No. 99 at 7 (citing United States v. Greenberg, 835 F.3d 295 (2d Cir. 2016)); Greenberg, 835
F.3d at 303 (“[I]t is doubtful that [the defendant’s] moving papers even raised a due process issue
regarding the failure to preserve evidence” as “the record must first show that evidence has been
lost and that this loss is ‘chargeable to the state.’”); ECF No. 99 at 9 (citing United States v.
Ehrlichman, 389 F. Supp. 95 (D.D.C. 1974)); Ehrlichman, 389 F. Supp. at 97 (“The subpoenaed
testimony is not in the possession of the Government within the meaning of that decision, since
the Subcommittee is neither an investigative or a prosecutorial arm of the Executive branch nor an
agency of the Government in any way involved in the offense or related transactions.”).


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is seeking are the transcripts of witness interviews that the Select Committee provided to the White

House and Secret Service. Compare generally ECF No. 99 (not mentioning transcripts) with ECF

Nos. 99-1, 99-2, 99-3, and 99-4 (describing the material returned to the White House and Secret

Service exclusively as transcripts). In the course of its investigation, the Government obtained

these materials from the Select Committee, the White House, and the Secret Service, and it

produced them to the defendant in its first discovery production more than two months ago. As

set forth in the Government’s first discovery letter on August 11, 2023, the Government produced

to the defendant Select Committee transcripts “that the Government obtained from the United

States Secret Service and the White House.” The Source Log accompanying the production

itemized the more than 260 witnesses whose Select Committee transcripts the Government

produced. The defendant does not appear to have attempted to determine whether the transcripts

he seeks, for witnesses whose identities he does not specify, are already in his possession. For this

reason alone, the motion should be denied. See United States v. Cole, 2021 WL 912425, at *6

(S.D.N.Y. Mar. 10, 2021) (declining to issue Rule 17(c) subpoena where the defendant failed “to

provide an explanation as to why these documents ‘are not otherwise procurable’ in light of the

Government’s representation” that it would produce the documents). See also Nixon, 418 U.S. at

699 (“[T]he moving party must show . . . that [the documents] are not otherwise procurable

reasonably in advance of trial by exercise of due diligence.”).

       B.       The Defendant Fails to Satisfy the Relevancy Requirement.

       The defendant only attempts to establish the relevancy of a portion of one of the six

categories of information he seeks—specifically, the recordings of Select Committee interviews.4


       4
         The defendant’s subpoenas seek, inter alia, “video recordings or other transcripts of
witness interviews.” ECF No. 99-5 at 5. His argument, however, focuses only on the recordings
and fails to explain the relevancy of video recordings of interviews for which he already has



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See ECF No. 99 at 9-10. As to that limited subcategory, the defendant’s arguments carry no

weight.

          First, the defendant claims without citation that “recordings of interviews are critical

evidence.” ECF No. 99 at 9. Even if that is so in the abstract, the defendant has not identified

whose interview was recorded or if the defendant already has a transcript of the recorded interview

among the hundreds of Select Committee transcripts provided to him in discovery. See Fitzsimons,

342 F.R.D. at 20 (noting that “relevance prong is not satisfied merely because a defendant can

articulate what they hope to find in the subpoenaed evidence”). If the defendant already has the

interview transcript created by “nonpartisan, professional official reporters, which the witnesses

and Select Committee staff had the opportunity to review for errata,” ECF No. 99-2 at 1 n.1, then

any recording of the interview for which a transcript was made is superfluous.

          Second, the defendant claims that “[i]mpeachment of witnesses is ‘clearly material’ to the

defense.” ECF No. 99 at 9 (quoting Tucker, 249 F.R.D. at 66). But he fails to identify for whom

he seeks to obtain impeachment evidence and whether that person will be a witness at trial. Since

the parties’ witness lists are not due to be exchanged until February 19, 2024, a request seeking

impeachment evidence—even if it identified a specific witness—is, at best, premature. Cf. United

States v. King, 194 F.R.D. 569, 574 (E.D. Va. 2000) (“[W]here it is known with certainty before

trial that the witness will be called to testify . . . the admissibility determination can be made before

trial.”). See also Binh Tang Vo, 78 F. Supp. 3d at 181 (rejecting argument that the subpoenaed



transcripts. The defendant also claims that “the letters to the Special Counsel to the President and
the General [C]ounsel for DHS” describe “very important information” and “substantial
intelligence information.” ECF No. 99 at 9. While it is correct that those words appear in the
letters, it is incorrect that the letters suggest any of that information was returned to the White
House or Secret Service. Instead, the letters clearly state that the Select Committee is returning
only “transcripts.” See ECF No. 99-3 at 1 (“we are hereby providing those transcripts . . . .”); ECF
No. 99-4 at 1 (“we are hereby providing those transcripts . . . .”).


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information contained impeachment evidence “because such statements ripen into evidentiary

material for purposes of impeachment only if and when the witness testifies at trial” (cleaned up));

Fitzsimons, 342 F.R.D. at 20-21 (denying Rule 17(c) subpoena where the defendant failed to

identify “any reason to think that [the subpoenaed information] contain[ed] potential impeachment

material”); United States v. Rhodes, 22-cr-15, Hr’g Tr. at 973-980 (D.D.C. Sept. 29, 2022)

(denying requests for Rule 17(c) subpoenas that seek information that may impeach cooperators)

(citing Fitzsimons, 2022 WL 3354709). 5

       The defendant’s motion fails in any way to discuss, much less establish, the relevancy of

any of the other Requested Records. 6 For example, other parts of Request One sought “the

temporary committee records identified in footnote 1 of the Thompson letter,” “intelligence and

other law enforcement information available to the Secret Service,” “records identifying

witnesses,” and “other information the Select Committee deemed private or operational details

pursuant to agreements with the White House and Department of Homeland Security.” Also,

Requests Two through Six call for an unknown amount of material generally related to the

document retention practices and policies of the U.S. House of Representatives; communications

between the Select Committee and other entities; and “[a]ny other documents, communications,


       5
           The defendant’s reliance on United States v. Silverman, 745 F.2d 1386 (11th Cir. 1984),
is misplaced. See ECF No. 99 at 12. In Silverman, the requests were specific, limited to complaints
filed against the defendant with the Florida State Bar, and contingent on the defendant electing to
testify at trial. See id. at 1396-98.
       6
           The defendant cannot attempt to rehabilitate in his reply brief arguments waived by failure
to be included in his motion. See United States v. Ford, 183 F. Supp. 3d 22, 38 (D.D.C. 2016)
(“These new bases for suppression are waived because [the defendant] raised them for the first
time in his reply brief.”); Steele v. United States, 14-cv-1523, 2023 WL 2139722, at *14 (D.D.C.
Feb. 21, 2023) (“[T]he Court will not consider plaintiffs’ argument, raised for the first time in their
reply brief . . . . Whatever the merits of that argument, plaintiffs had every opportunity to include
it in their opening summary judgment brief but chose not to do so. ‘Arguments raised for the first
time in a reply brief are waived.’”) (quoting Nippon Shinyaku Co., Ltd. v. Iancu, 369 F. Supp. 3d
226, 239, n.8 (D.D.C. 2019)).


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or records in any way pertaining to the Missing Materials.” The defendant’s motion says nothing

about the relevancy of these items—probably because he is unable to identify them. Since he fails

to even try to carry his burden as to these materials, his motion should be denied. See Fitzsimons,

342 F.R.D. at 20 (“The burden of satisfying the ‘exacting standards’ of the three-part Nixon test

falls ‘on the party requesting the information.”); Binh Tang Vo, 78 F. Supp. 3d at 178 (“The burden

rests with the party issuing a subpoena . . . .”).

        C.      The Defendant Fails to Satisfy the Admissibility Requirement.

        As with his relevancy claims, the defendant’s admissibility arguments fail to state what

materials his subpoenas seek. For instance, the defendant references “the evidence identified in

the [DHS] letter,” ECF No. 99 at 11, leaving it to the Court to determine what that evidence may

be. But as described above, the DHS letter, ECF No. 99-3, only specifies the transcripts the Select

Committee returned to the Secret Service, and the defendant has been provided with those in

discovery.

        The defendant also claims without citation that “the evidence identified in the [DHS] letter”

“could be used to show notice to White House personnel regarding the events of January 6th” and

“could be offered for the non-hearsay purpose of demonstrating a witness or party’s state of mind.”

ECF No. 99 at 11. It is unclear how these arguments relate to transcripts of unidentified witnesses

that the defendant already has in his possession. To the extent the defendant is referring to some

other potential evidence, his motion does not specify what it is. See United States v. Caro, 597

F.3d 608, 620 (4th Cir. 2010) (affirming denial of Rule 17(c) subpoena where defendant could

“only speculate as to what the requested information would have shown” and stating that the

defendant’s “requested Rule 17(c) subpoenas cast a wide net that betokens a ‘general fishing

expedition’”). Nor does the defendant’s motion address that whatever the “notice” or “state of

mind” information he seeks for some unidentified witness, it is likely to be found among the Select


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Committee interviews, Government interviews, grand jury proceedings, Secret Service material,

or other subpoena returns the defendant has in his possession already because of the Government’s

robust, detailed, early discovery productions.

       D.      The Defendant Fails to Satisfy the Specificity Requirement.

       In light of the defendant’s failure to establish either the relevancy or the admissibility of

the Requested Records, the Court need not address whether the requests satisfy Nixon’s specificity

requirement. The cursory argument the defendant offers as to why his requests are specific,

however, is readily dispatched.

       To establish specificity under Nixon, the defendant asserts that the Requested Records

“concern only a specific issue and do not include documents related to any other aspect of the

Select Committee’s investigation or archived records.” ECF No. 99 at 10. While at a sufficiently

high level of generality it may be correct that the Requested Records “concern only a specific

issue,” the claim falls apart upon rudimentary inspection, as “courts will not approve a subpoena

for documents based upon requests for disclosure from broad categories of documents.” Libby,

432 F. Supp. 2d at 31. The defendant’s requests suggest a breathtaking amount of potential

material, such as “intelligence and other law enforcement information available to the Secret

Service” (Request One) and “[a]ny other documents, communications, or records in any way

pertaining to the Missing Materials” (Request Six). Setting aside that the defendant’s request is

premised on “missing” materials that do not appear to be missing at all, the fact that the defendant

is unable to articulate beyond the top-line what records he might obtain or the volume of records

that might fall within these requests demonstrates that the requests are not sufficiently specific.

See, e.g., Cole, 2021 WL 912425, at *4 (insufficiently specific when defendant failed to identify a




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specific portion of a personnel file and explain its relevancy); United States v. Lindberg, 2019 WL

7000089, at *2-3 (W.D.N.C. Dec. 20, 2019) (collecting cases); Libby, 432 F. Supp. 2d at 31-32.

        Instead of being “specific,” the defendant’s requests are a quintessential “fishing

expedition” through which the defendant apparently hopes he might obtain unidentified

impeachment evidence for unknown individuals who may never be on any party’s witness list,

learn what the House’s record keeping requirements were (for some inadmissible purpose), learn

what the Select Committee may or may not have done with “missing” materials (again for some

inadmissible purpose), and identify who the Select Committee may or may not have communicated

with about such materials (again for some inadmissible purpose). See, e.g., Binh Tang Vo, 78 F.

Supp. 3d at 180-81 (“[The] assertion at oral argument that the movants would undoubtedly ‘say

things that would be evidence that we could potentially even use in our case in chief,’ . . . is the

type of vague justification that makes clear the subpoenas were ‘a general ‘fishing expedition’ that

attempts to use the rule as a discovery device.’”); United States v. Constantine, 2023 WL 3045408,

at *2 (S.D.N.Y. Apr. 21, 2023) (“Subpoenas should not issue when ‘defense counsel merely

speculates that the materials may constitute inconsistent statements of expected witnesses.’”).

Since the defendant fails to make a sufficiently specific request, the Court should deny his motion

for this additional reason. 7




        7
         The defendant’s motion is contrary to applicable law, and authorizing the issuance of his
proposed subpoenas would invite wasteful collateral litigation with Congress and the White House
over these non-party subpoenas. See ECF No. 99 at 11 (noting that the proposed subpoena
recipients “retain the right to raise any objections with the Court”); ECF No. 99-5 at 6 (describing
the manner to raise privilege assertions); Ehrlichman, 389 F. Supp. at 98 (noting that “further
proceedings to enforce the subpoenas would be futile” in light of a valid assertion of constitutional
privilege by the U.S. House of Representatives); Bannon, Hr’g Tr. at 141 (D.D.C. Jan. 9, 2023)
(“I conclude that much of the testimony that Mr. Bannon would seek from the individuals he has
subpoenaed and most of the documents are barred by the Speech or Debate Clause.”).


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IV.   Conclusion

      The Court should deny the defendant’s motion.

                                                   Respectfully submitted,

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